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                                          U.S. Department of Justice

                                                     United States Attorney
-                                                    Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007



                                                     September 22, 2022

BY ECF

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Michael Avenatti, 19 Cr. 374 (JMF)

Dear Judge Furman:

         The Government respectfully requests that the Court enter the attached restitution order.
(See Judgment at 6-7, Dkt. No. 442; Sent. Tr. at 54:18-55:11). The Court retains power to enter
this order, notwithstanding the statutory 90-day deadline to order restitution. See 18 U.S.C.
§ 3664(d)(5). In Dolan v. United States, 560 U.S. 605 (2010), the Supreme Court explained that
“a sentencing court that misses the 90–day deadline nonetheless retains the power to order
restitution—at least where . . . the sentencing court made clear prior to the deadline’s expiration
that it would order restitution, leaving open (for more than 90 days) only the amount.” Id. at 607.
In this case, the Court made clear not only that it would order restitution, but also the amount and
the payment terms – that is, it made a timely “determination of the victim’s losses.” 18 U.S.C.
§ 3664(d)(5). The proposed restitution order merely provides additional details about the scope
and implementation of the Court’s prior order. See also, e.g., United States v. Gushlak, 728 F.3d
184, 191-92 (2d Cir. 2013) (applying Dolan).

       The Government has sent the proposed order to defense counsel, who do not object.
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United States District Judge
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         The Government also notes that the proposed order directs the Clerk of Court to send
payments to Ms. Daniels before payments are made to NIKE, Inc., which is a victim in United
States v. Michael Avenatti, 19 Cr. 373 (PGG). On this point, the Government has conferred with
counsel for Nike. Nike’s position is that individual victims of the defendant should receive
restitution before the company does.


                                                  Respectfully submitted,

                                                  DAMIAN WILLIAMS
                                                  United States Attorney

                                           By:    s/
                                                  Matthew D. Podolsky
                                                  Andrew A. Rohrbach
                                                  Robert B. Sobelman
                                                  Assistant United States Attorneys
                                                  (212) 637-1947/2345/2616

cc:    Counsel of Record (by ECF)
